                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN


 U.S. EQUAL EMPLOYMENT                           )
 OPPORTUNITY COMMISSION,                         )
                                                 )
                Plaintiff,                       )
                                                 )            Civil Action No. 21-cv-1409
        v.                                       )
                                                 )            Honorable J.P. Stadtmueller
PENSEC, INC., dba McDonald’s                     )           Magistrate Judge Nancy Joseph
                                                 )
                Defendant.                       )


                                      THE LITIGATION

       1.      On December 13, 2021, Plaintiff Equal Employment Opportunity Commission

(“EEOC” or “Commission”) filed Case No. 21-cv-1409 alleging that Defendant Pensec, Inc., dba

McDonald’s (“McDonald’s” or “Defendant”) violated Title VII of the Civil Rights Act of 1964,

as amended, 42 U.S.C. § 2000e et seq. (“Title VII”), and Title I of the Civil Rights Act of 1991,

42 U.S.C. § 1981a, by failing or refusing the hire Black applicants to work at its West Washington

Street franchise location in Milwaukee because of their race since 2017.

       2.      In the interest of resolving this matter, and as a result of having engaged in

comprehensive settlement negotiations, the parties have agreed that these actions should be finally

resolved by entry of this Consent Decree (hereafter “Decree”). This Decree fully and finally

resolves any and all issues and claims arising of the Complaint filed by the EEOC and shall be

binding on the EEOC and Defendant. By entering into this Decree, neither party makes any

admission regarding any claims or defenses thereto.


                                               FINDINGS
       3.      Having carefully examined the terms and provisions of this Decree, and based on

the pleadings, record, and stipulations of the parties, the Court finds the following:

               a.      This Court has jurisdiction of the subject matter of these actions and of the
                       parties;

               b.      The terms of this Decree are adequate, fair, reasonable, equitable, and just.
                       The rights of EEOC, Defendant, the Charging Party, the claimants, and the
                       public interest are adequately protected by this Decree; and

               c.      This Decree conforms to the Federal Rules of Civil Procedure and Title VII
                       and is not in derogation of the rights or privileges of any person. The entry
                       of this Decree will further the objectives of Title VII and will be in the best
                       interests of the parties, the Charging Party, the claimants, and the public.

       NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED THAT:

                                          INJUNCTION

       4.      Defendant, its officers, agents, employees, successors, assigns and all persons

acting in concert with it are enjoined from engaging in any employment practice in violation of

Title VII that discriminates on the basis of race in hiring or termination at its West Washington

Street franchise location.

       5.      Defendant, its officers, agents, employees, successors, assigns and all persons

acting in concert with them are enjoined from engaging in any form of retaliation against any

person because such person has opposed any practice made unlawful under Title VII, filed a

Charge of Discrimination under Title VII, testified or participated in any manner in any

investigation, proceeding, or hearing under Title VII, asserted any rights under this Decree, or

benefitted from the relief provided by this Decree.

                                         MONETARY RELIEF

       6.      Defendant shall pay the gross aggregate amount of $31,137.50 to be distributed

among Charging Party and the identified claimant as follows. In consideration of Charging Party

Rhonda Capleton’s execution of the Release Agreement attached as Exhibit A, Defendant agrees

                                                  2
to pay Capleton the gross sum of $25,000, $18,663 of which shall be for compensatory damages

and $6,337 of which shall be for lost wages, less applicable withholding and deductions for federal,

state, and local taxes, for which a W-2 will be issued at the appropriate time. Defendant may not

deduct the employer’s portion of applicable payroll taxes. In consideration of identified claimant

Flahleesha Stinson’s execution of the Release Agreement attached as Exhibit A, the Defendant

agrees to pay Stinson the gross sum of $6,137.50, $4,602.50 of which shall be for compensatory

damages and $1,535 of which shall be for lost wages, less applicable withholding and deductions

for federal, state, and local taxes, for which a W-2 will be issued at the appropriate time. Defendant

may not deduct the employer’s portion of applicable payroll taxes. Defendant shall send payment

by check via Certified or Registered Mail to each individual within ten (10) days of the later of:

approval of this Decree by the Court and Defendant’s receipt of the Release attached as Exhibit A

for that individual.

                                         HIRING GOALS

        7.      To ameliorate past conduct alleged by the EEOC, Defendant shall exercise its best

efforts to meet the hiring goals for Black individuals set forth in this section for hiring at its West

Washington location. “Best efforts” means implementing and adequately funding a plan

reasonably designed to comply with the specific hiring goals set forth herein:

             a. Achievement of the goals will be calculated on a six-month basis for the duration
                of the Decree, starting 90 days after the entry of the decree.

             b. Goals will be calculated for the same six-month periods as the semi-annual reports.

             c. Defendant shall use a voluntary self-identification form to identify the race of
                applicants to the West Washington location. The voluntary self-identification form
                shall be maintained separately from the applicant’s other materials. Pensec shall not
                provide the self-identification form to any individual who makes or has input into
                decisions regarding whether to interview or hire the applicant. The self-
                identification form shall not be reviewed by any individual who makes or has input
                into decisions regarding whether to interview or hire an applicant.


                                                  3
            d. Defendant shall monitor, by applicant self-identification, the applicant flow rate of
               Black individuals to its West Washington location. “Applicant Rate” shall be the
               percentage of total applicants who self-identify as Black measured on a six-month
               basis.

            e. Defendant shall use the Applicant Rate in the preceding six-month period as the
               hiring goal for Black individuals (“Hiring Goal”). Defendant shall identify the
               applicable Applicant Rate to the EEOC within fourteen (14) calendar days of the
               beginning of each six-month period.

            f. The hiring goal for the first six months after the entry of the Decree shall be 42
               percent, which is equal to the percentage of hires that were Black for the one-year
               period preceding entry of the Decree

            g. Defendant’s failure to achieve the Hiring Goal for a particular six-month period will
               not be considered a violation of the Decree unless Defendant failed to use best
               efforts to meet the Hiring Goal.


                                      RECORD KEEPING

       8.      For the duration of the Decree, Defendant shall maintain in their original native

format, as well as any other format that Defendant creates or maintains, and make available for

inspection and copying by the EEOC the following records for its West Washington Street

franchise location:

            a. All applications for employment, including enclosures such as resumes and cover
               letters;

            b. All notes of interviews with an applicant, notes of other contact with an applicant
               and notes of attempts to contact an applicant;

            c. All applicant race self-identification forms;

            d. Within 90 days after entry of the Decree, Defendant shall create and maintain a
               database containing for each applicant: the name, race, social security number,
               address, e-mail address, telephone number, position applied for, date of application,
               interview date; date of job offer and position offered (if any); whether an applicant
               failed to respond to an interview request; whether an applicant withdrew from the
               application process; whether a job offer was accepted or rejected; if applicable,
               reason for rejection for employment if not given a job offer;



                                                 4
            e. A complete employee database including the same information as well as the
               employee’s job title(s) and dates of positions held; and also including termination
               date, if applicable, and reason for termination;

            f. Job descriptions; and

            g. Documents related to any complaint of race discrimination or retaliation made by
               an applicant or employee. Such documentation shall consist of the complaint, if
               written, the date the complaint was made, the name of the complainant, the
               allegations of the complaint, all witness statements, and what actions Defendant
               took, if any, to resolve the matter.

       9.      Defendant shall make all documents or records referred to in Paragraph 8 above

available for inspection and copying within fourteen (14) calendar days after the EEOC so

requests. Defendant shall require its personnel to verify compliance with this Decree, to cooperate

with the EEOC, and to be interviewed.

                                          REPORTING

   10. At six-month intervals for the duration of the Decree Defendant shall provide reports to

the EEOC. The first Report shall be due six months after entry of the Decree. The last Report shall

be due 60 days before the expiration of the Decree. The reports shall include the information

regarding the following for Defendant’s West Washington Street franchise location:

            a. Progress in reaching its Hiring Goals. Defendant will indicate any shortfalls in
               achieving its Hiring Goals and will analyze the possible reasons for such shortfall,
               and will identify plans to facilitate achievement of the Hiring Goals;

            b. A database containing for each applicant: the name, race (if provided by the
               applicant, otherwise the race will be recorded as “unknown”), social security
               number (if provided by the applicant), address, telephone number, position applied
               for, date of application, interview date; date of job offer and position offered (if
               any); whether an applicant failed to respond to an interview request; whether an
               applicant withdrew from the application process; whether a job offer was accepted
               or rejected; if applicable, reason for rejection for employment if not given a job
               offer;



                                                 5
             c. A complete employee database including the same information as well as the
                employee’s job title(s) and dates of positions held; and also including termination
                date, if applicable, and reason for termination;

             d. The database shall also identify the total number of persons identified by race:

                       who were hired;

                       who applied for / inquired about each position;

                       who were interviewed;

                       who were offered a position but declined the employment offer;

                       who voluntarily withdrew from consideration and the reason(s) for the
                        withdrawal, if known;

                       who were unresponsive to Defendant’s attempts to conduct an interview.

             e. The identification of each and every decision-maker for each hiring event;

             f. For each applicant who was not selected as a result of a hiring event, the reason(s)
                for the non-selection and the race of the applicant;

             g. An explanation regarding the resignation or termination of any African-American
                employee who is hired by Defendant and whose employment ceases whether at the
                employee’s request or at the request of the employer and documents related to such
                resignation or termination;

             h. A description of changes, if any, to Defendant’s application, interviewing, and
                hiring procedures, or job descriptions that were made during the reporting period;
                and

             i. All complaints or reports, oral or written, of race discrimination or retaliation and
                what actions, if any, Defendant took to resolve the matter.

                           POLICIES AGAINST DISCRIMINATION

       11.      Within sixty days of the entry of the Decree, Defendant will review its

anti-discrimination and anti-retaliation policies applicable to its West Washington Street franchise

location as well as its policy applicable to the investigation of complaints to ensure that they are

consistent with the Defendant’s obligations under the Decree. Defendant will provide copies of

any revisions to the EEOC for comment. After EEOC has had twenty-one days for comments, and

                                                  6
there is no dispute regarding the revisions, Defendant will redistribute the policies to each of its

employees at its West Washington franchise location.

       12.     The inclusion of Paragraph 11 in the Decree does not represent EEOC’s or the

Court’s approval of Defendant’s policies against race discrimination or retaliation. All persons

hired during the term of the Decree will be provided with copies of the policies during orientation.

                                           TRAINING

       13.     All persons actively employed by Defendant at its West Washington Street

franchise location will participate in annual training sessions conducted by an outside trainer

during the term of the Decree regarding Title VII’s prohibition on discrimination based on race

and retaliation, with the first session to take place within ninety (90) days of the date of entry of

the Decree. The training sessions can be offered via video or PowerPoint presentation and must

be available in both English and Spanish and offered to employees in the language of their choice.

       14.     Any manager or human resources professional and any other person who has any

responsibility for hiring at Defendant’s West Washington Street franchise location, including any

employees who have input into and/or decide which applicants to interview, employees who

interview applicants, employee who have input into the hiring process, employees who make

hiring decisions, and employees responsible for enforcing Defendant’s policies against

discrimination and retaliation applicable at Defendant’s West Washington Street franchise location

will participate annually in a separate session for such employees designed to cover their

responsibilities. Any employees with any responsibility for investigating complaints of

discrimination will participate in an annual training regarding best practices for complaint

investigation and communication with complaints. Such training shall be conducted by an outside

trainer. The first annual training shall take place within ninety (90) days of entry of this Decree.

The training sessions can be offered virtually, for example, via Zoom or WebEx.
                                                 7
       15.     Defendant shall obtain approval from the EEOC of its proposed trainer prior to such

individual conducting a training session. Defendant shall submit the name, address, telephone

number, resume and training proposal of the proposed trainer to the EEOC at least (30) calendar

days prior to the proposed commencement date(s) of the training(s). The EEOC shall have seven

(7) days from the date of receipt of the information described above to accept or reject the proposed

trainer and/or proposal. In the event the EEOC does not approve Defendant’s designated trainer

or proposal, Defendant shall have fourteen (14) days to identify an alternate trainer and/or provide

a new training proposal. The EEOC shall have seven (7) business days from the date of receipt of

the information described above to accept or reject the alternate trainer and/or proposal. If the

parties cannot through this process agree on a trainer or training proposal, then they may seek the

Court’s assistance under Paragraph 21.

       16.     Defendant shall certify to the EEOC, in writing, within fourteen calendar (14) days

after each training session has occurred that the training has taken place and that the required

personnel have attended. Such certification(s) shall include: (i) the date, location and duration of

the training; (ii) a copy of the registry of attendance, which shall include the name and position of

each person in attendance; and (iii) a list of all persons currently employed by Defendant at its

West Washington Street franchise location.

       17.     Within fourteen calendar (14) days after each training session has occurred,

Defendant shall provide the EEOC with copies of any and all pamphlets, brochures, outlines or

other written material(s) provided to the participants of the training session(s).

                                    POSTING OF NOTICES

       18.     Within five (5) business days following entry of this Decree, Defendant will post a

same-sized copy of the Notice attached as Exhibit B to this Decree in a conspicuous location easily


                                                  8
accessible to and commonly frequented by employees working at Defendant’s West Washington

Street franchise location. The Notice will remain posted for the term of the Decree.

       19.     The Notice will be written in both Spanish and English, and both versions of the

Notice will be posted. Defendant shall ensure that the postings are not altered, defaced or covered

by any other material.

       20.     Defendant shall certify to EEOC in writing within ten (10) business days after entry

of this Decree that the copies of the Notices have been properly posted and identify the locations

of the postings. Defendant shall permit a representative of EEOC to enter their premises for

purposes of verifying compliance with this Paragraph at any time during normal business hours

without prior notice.

                                    DISPUTE RESOLUTION

       21.     If either party to this Decree believes that the other party has failed to comply with

any provision(s) of the Decree, the complaining party shall notify the other party of the alleged

non-compliance in writing (either via letter or e-mail) and shall afford the alleged non-complying

party twenty-one (21) days to remedy the non-compliance or to satisfy the complaining party that

the alleged non-complying party has complied. If the alleged non-complying party has not

remedied the alleged non-compliance or satisfied the complaining party that it has complied within

twenty-one (21) days, the complaining party may apply to the Court for appropriate relief.

       22.     In resolving any dispute with regard to Defendant’s compliance with any provision

of the Decree, the Court shall have available to it all equitable remedies which come within the

Court’s inherent authority, including, but not limited to, extension of any or all terms of the Decree

and/or imposing a monetary fine for non-compliance.

         DURATION OF THE DECREE AND RETENTION OF JURISDICTION

                                                  9
          23.   All provisions of this Decree shall be in effect (and the Court will retain jurisdiction

of this matter to enforce this Decree) for a period of two and a half (2.5) years immediately

following entry of the Decree, provided, however, that if, at the end of the two-and-a-half-year

period, any disputes under Paragraph No. 21, above, remain unresolved, the term of the Decree

shall be automatically extended for the sole purpose of resolution of the issues raised in such

disputes (and the Court will retain jurisdiction of this matter to enforce the Decree) until such time

as all such disputes have been resolved.

                               MISCELLANEOUS PROVISIONS

          24.   The terms of this Consent Decree shall be binding upon the present and future

directors, officers, managers, agents, successors and assigns of Defendant. Defendant, and any

successor(s) of Defendant, shall provide a copy of this Decree to any organization or person who

proposes to acquire or merge with Defendant, or any successor of Defendant, prior to the

effectiveness of any such acquisition or merger. This paragraph shall not be deemed to limit any

remedies available in the event of any finding by the Court regarding a violation of this Decree.

          25.   Each party to this Decree shall bear its own expenses, attorney’s fees and costs.

          26.   If any provision(s) of the Decree are found to be unlawful, only such provision(s)

shall be severed, and the remainder of the Decree shall remain in full force and effect.

          27.   When this Decree requires a certification by Defendant of any fact(s), such

certification shall be made under oath or penalty of perjury by an officer or management employee

of Defendant to the best of such officer’s or management employee’s knowledge, information and

belief.

          28.   When this Decree requires notifications, reports, and communications to the

Parties, they shall be made in writing and hand-delivered or mailed. They shall also be

contemporaneously e-mailed to:

                                                  10
For EEOC:
Pensec Settlement
Equal Employment Opportunity Commission
230 South Dearborn, Ste. 2900
Chicago, IL 60606
Laurie.Elkin@eeoc.gov
Adrienne.Kaufman@eeoc.gov

For Defendant:
Martin K. LaPointe
LaPointe Law, P.C.
1200 Shermer Rd., Ste. 425
Northbrook, IL 60062
mlapointe@lapointelaw.com


       Any party may change such persons or addresses by written notice to the other party, setting

forth a different individual or address for this purpose.



ENTERED AND APPROVED FOR:

For the EQUAL EMPLOYMENT
OPPORTUNITY COMMISSION
131 M Street, NE
Washington, DC 20507

CHRISTOPHER LAGE
Deputy General Counsel

GWENDOLYN YOUNG REAMS
Associate General Counsel

s/ Gregory Gochanour______________
Gregory Gochanour
Regional Attorney
Chicago District Office
230 S. Dearborn, Ste. 2900
Chicago, Illinois 60606
E-Mail: Gregory.Gochanour@eeoc.gov

                                                 11
s/ Deborah Hamilton______________
Deborah Hamilton
Supervisory Trial Attorney
Chicago District Office
230 S. Dearborn, Ste. 2900
Chicago, Illinois 60606
E-Mail: Deborah.Hamilton@eeoc.gov

Laurie Elkin
Adrienne Kaufman
Trial Attorneys


For Defendant Pensec,
Inc., dba McDonald’s:


s/ Martin K. LaPointe______________
Martin K. LaPointe
LaPointe Law, P.C.
1200 Shermer Rd., Ste. 425
Northbrook, IL 60062
E-mail: mlapointe@lapointelaw.com




                                      12
ENTER:                            DATE:

_____________________________     2/28/2022
                                  ______________

The Honorable J.P. Stadtmueller
United States District Judge




                                    13
